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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
CYNTHIA HAYES,                         )
                                       )
      Plaintiff,                       )
                                       )
      v.                               ) Civil Action No.: 16-cv-131 (APM)
                                       )
UNITED STATES OF AMERICA, et al.,      )
                                       )
      Defendants                       )
______________________________________ )

          NOTICE OF SETTLEMENT AND STIPULATION OF DISMISSAL

       Plaintiff, Cynthia Hayes, and Defendants, the United States of America and Corrections

Corporation of America, by and through counsel, hereby notify the Court that they have

reached settlement in the above-captioned matter. Accordingly, the parties stipulate to

dismissal of this action, with all parties to bear their own fees and costs.


                                       Respectfully submitted,

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